EXHIBIT 18
                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, and AMERICAN                        Case No. __________
 ASSOCIATION OF UNIVERSITY
 PROFESSORS,

                        Plaintiffs,

                 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                        Defendants.



                            DECLARATION OF TODD WOLFSON

I, Todd Wolfson, hereby declare as follows:

       1.      I currently serve as President of the American Association of University Professors

(“AAUP”), a plaintiff in this action. I have served in that position since June 2024. I also previously

held various leadership roles for the Rutgers University chapter of AAUP, including as the chap-

ter’s President and Vice President.

       2.      I am also a trained anthropologist and an Associate Professor of Journalism and

Media Studies at Rutgers. I received my Ph.D. in Anthropology and Social and Cultural Founda-

tions of Education from the University of Pennsylvania.

       3.      I have personal knowledge of the facts set forth in this declaration in support of

Plaintiff’s Motion for Preliminary Injunction, and if called as a witness in this action, I could and

would testify competently to these facts.
       4.      The AAUP is a membership association and labor union of faculty and academic

professionals with chapters at colleges and universities throughout the country.

       5.      The AAUP is a 501(c)(6) organization headquartered in Washington, D.C.

       6.      The primary mission of the AAUP is to advance academic freedom and shared gov-

ernance in higher education, define fundamental professional values and standards for higher ed-

ucation, promote the economic security of academic workers, and ensure higher education’s con-

tribution to the common good.

       7.      The AAUP was founded by John Dewey and other preeminent scholars in 1915 to

defend the ability of scholars, researchers, and educators to teach, write, and research without po-

litical and economic retaliation based on their viewpoints. Since its founding, the AAUP has

helped to shape American higher education by developing the standards and procedures that main-

tain quality in education and academic freedom in this country’s colleges and universities.

                                   Harms to AAUP’s Members

       8.      The AAUP has approximately 44,000 members on college and university campuses

across the country, including approximately 122 members at Harvard University. Many of these

members, including members at Harvard, rely on federal grants to support their research, scholar-

ship, and teaching activities.

       9.      I am aware of and can identify AAUP members who are at risk of losing their fund-

ing and whose speech and academic freedom has been chilled as a result of the federal govern-

ment’s series of actions targeting Harvard University, including the March 10, 2025 letter to Har-

vard and many other universities warning of potential enforcement actions; the March 31, 2025

announcement by the government of a comprehensive review of federal contracts and grants at

Harvard University and its affiliates; and the April 3, 2025 letter from officials at the U.S. General




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Services Administration, U.S. Department of Health and Human Services, and U.S. Department

of Education that was made public and demanded that Harvard immediately take a long list of

actions to remain a recipient of federal funding (the “Demand Letter”). Those AAUP members

will suffer irreparable harm to their research, work, reputation, academic freedom, and ability to

pursue their careers if federal funding is cancelled or if the Harvard administration accedes to the

federal government’s demands in the Demand Letter.

       10.     I am aware of and can identify AAUP members who rely on federal funding that

the federal government threatened to cancel in its April 3, 2025 letter demanding that Harvard

implement a long list of “non-exhaustive areas of reform” to “remain a responsible recipient of

federal taxpayer dollars.” Many of those AAUP members are suffering harm as a direct result of

that threat, including because the continued viability of their work is now uncertain, making it

difficult to plan, maintain professional relationships, and recruit potential staff to work on their

projects. Those AAUP members will also suffer irreparable harm to their research, work, reputa-

tion, and ability to pursue their careers and work if the federal government cancels that funding.

       11.     I am aware of and can identify AAUP members at Harvard University who are

concerned about losing their jobs or ability to continue to support their livelihoods, either as a

direct result of the Trump Administration’s threat to cancel nearly $9 billion in federal grants and

contracts to Harvard University, or because they fear they may be let go by Harvard if they engage

in speech the Trump Administration disfavors as Harvard seeks to placate the Trump Administra-

tion and encourage it not to carry out its threats to cancel federal funding, and who now feel limited

in what they can say in and outside the classroom for fear of the loss of additional funding to

themselves or the University.




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       12.     I am aware of and can identify AAUP members at Harvard University who have

started to self-censor their language both inside and outside the classroom following the Trump

Administration’s threats to investigate the university and the April 3, 2025 Demand Letter threat-

ening to cancel federal funding. These members fear that they may face backlash from Harvard

and may lose their jobs as a result of exercising their academic freedom.

       13.     I am also aware of and can identify AAUP members at other colleges and univer-

sities who are similarly concerned about losing their jobs or ability to support their livelihoods,

and who now feel limited in what they can say in and outside the classroom for fear of the Trump

Administration summarily canceling federal funding to their programs, universities, or colleges

without following applicable statutory requirements or other law in the same way that the Trump

Administration has canceled funding at Columbia, Cornell, and Northwestern, and threatened to

cancel federal funding at Harvard and at numerous other universities and colleges.

                             Harms to AAUP as an Organization

       1.      The Trump administration’s threats to terminate at least $255.6 million in contracts

and hold over $8.7 billion in grant commitments to Harvard University, along with the Trump

administration’s demands that Harvard make Trump administration-imposed reforms for contin-

ued federal financial assistance to the University, has harmed and is continuing to harm AAUP as

an organization.

       2.      As noted above, the primary mission of the AAUP is to advance academic freedom

and shared governance in higher education, define fundamental professional values and standards

for higher education, promote the economic security of academic workers, and ensure higher ed-

ucation’s contribution to the common good. The Trump administration’s threats to cancel federal




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funding at Harvard and other universities and colleges and demand that Harvard implement a long

list of “reforms” to maintain its federal funding is directly impairing the AAUP’s mission.

       3.      As part of its core activities, the AAUP regularly consults, works with, and repre-

sents local chapters and individual members regarding academic freedom, shared governance, and

other issues involving the employment relationship between AAUP members and their university

employers, including but not limited to collective bargaining.

       4.      For example, the AAUP maintains a standing committee, known as Committee A

on Academic Freedom and Tenure, which “[p]romotes principles of academic freedom, tenure,

and due process in higher education through the development of policy documents and reports

relating to these subjects and the application of those principles to particular situations that are

brought to its attention.”

       5.      The AAUP also conducts investigations of individual complaints of institutions vi-

olating academic freedom principles in relationship to AAUP members, issues reports of the re-

sults of some of those investigations, and advocates with those institutions to seek to remedy such

violations and prevent future violations from occurring. Such investigations are authorized by the

AAUP Executive Director, and conducted by a subcommittee appointed by the Executive Director.

       6.      Through its local chapters, including the Harvard Faculty AAUP chapter, the

AAUP also provides for the representation of individual members regarding academic freedom,

shared governance, and due process issues in proceedings before their university employers. The

AAUP has diverted internal resources of staff time and expenses to assist Harvard members pre-

pare to respond to the demands the Trump administration.

       7.      I understand that Title VI and its implementing regulations require the government

to provide notice and a hearing before terminating federal funding to any program based on a




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violation of Title VI. I understand that the government has not as of now provided any notice to

Harvard. If the government were to provide notice, both the AAUP and individual AAUP members

would seek to participate in that hearing to protect the federal funding supporting the work of

AAUP members at Harvard and to protect the principles of academic freedom, due process, and

shared governance that are at the core of the AAUP’s mission.

       8.      The Trump administration’s March 10 letter, March 31 press release, and April 3

Demand Letter, along with other public statements made by government officials, disrupt and

frustrate the AAUP’s efforts to secure principles of academic freedom, shared governance, and

due process at Harvard and elsewhere.

       9.      The government’s actions and statements have made it more difficult and resource-

intensive for the AAUP to carry out its representation of chapters and individual members, in

particular on issues of academic freedom. Because of government pressure on Harvard and other

universities to abandon their commitment to academic freedom, shared governance, and due pro-

cess principles, the AAUP must now expend more time and money to ensure that its members’

rights in these regards are protected.

       10.     The Trump administration’s threats to cancel funding at Harvard and other univer-

sities and colleges also make it harder for the AAUP to achieve its goals of promoting academic

freedom, shared governance, and due process principles in part because Harvard has taken steps

in direct response to the Trump administration’s actions to undermine those principles, and Har-

vard and other higher educational institutions are less willing now to protect those principles in

the face of threatened funding cuts from the federal government. The Trump administration has

directly impaired the AAUP’s mission by pressuring Harvard to curtail speech and academic free-

dom on campus.




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       11.     For example, in response to the significant influx of inquiries from chapter leaders

and members regarding the effect of the government’s actions on members’ academic freedom,

shared governance, and due process rights, and to ensure that individual members are adequately

represented before their university employers, AAUP staff have had to conduct nationwide calls

and virtual meetings with chapter leaders regarding the government’s actions and how to represent

individual members in the face of such actions.

       12.     The AAUP has committed staff and leadership time to support members of

Havard’s AAUP chapter regarding how to respond to the government’s actions, including the April

3, 2025 Demand Letter.

       13.     The government’s actions and statements have also caused a pervasive sense of fear

and intimidation among AAUP members. Because of the government’s conduct and the threats of

further cuts to research funding, I am aware that some AAUP members no longer feel comfortable

participating in and supporting the AAUP’s activities, or asserting their academic freedom, shared

governance, and due process rights. As just some examples, in direct response to the government’s

threats to cut federal funding to Harvard and to other universities, some AAUP members at uni-

versities across the country have cancelled conferences, pulled papers set for publication, decided

not to teach classes or certain topics within those classes that may be perceived as being at odds

with the Trump administration’s preferred viewpoints, stopped attending talks, refrained from at-

tending lawful protests, and stepped down from their AAUP chapter board.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




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